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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 AUG -9 PH 2: 29
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GERALD WHEATON,
Plaintiff,
VS.

No. 05-02234 B/V

STEVE HUDGINS,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO CONDUCT DISCOVERY
IN AID OF MOTION TO DISMISS

 

Before the court is the July 18, 2005 motion of the defendant,
Steve Hudgins, for leave to conduct certain discovery in aid of the
motion dismiss that is pending before the court. This motion has
been referred to the United States Magistrate Judge for
determination. For the following reasons, the motion is granted.

Pursuant to Local Rule 7.2(a)(2), responses to notions in
civil cases are to be filed within fifteen days after service of
the motion. The plaintiff has not filed a response to this motion,
and the time for responding has now expired.

Rule 7.2(a)(2) further provides that “[f]ailure to respond
timely to any motion, other than one for requesting dismissal of a
clain1 or action, may' be deemed. good. grounds for granting the
motion.” In the absence of any response by the plaintiff, the

defendant's motion for leave to conduct certain discovery in aid of

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the motion dismiss is granted.

Hudgins shall be permitted to conduct limited discovery
including service of Interrogatories, service of Requests for
Production of documents, service of Requests for Admissions and the
taking of limited Depositions. Discovery shall be limited to the
fundamental jurisdictional issue of the plaintiff's working
relationship with Hudgins and/or Prime, Inc. The limited discovery
in aid of the motion to dismiss must be completed on or before
October 14, 2005.

IT IS SO ORDERED this Sth day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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Honorable J. Breen
US DISTRICT COURT

